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                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDI-E DISTRICT OF FLORIDA
                                           TAMPA DIVISION

RTGOBERTO RONQUTLLO
MARIA RONQUILLO

Debtor
                          I                                              Case   No: l6-

                                                CHAPTER 13 PLAN
CHECK ONE:

            _X_ Debtorr certifies that the Plan does not deviate from the model plan adopted by
the Court at the time of the filing of this case. Any nonconforming provisions are deemed
stricken.

             The Plan contains provisions that are specific to this Plan in. paragraph 9,
Nonconforming Provisions. Any nonconforming provision not set forth in paragraph 9 is deemed
stricken.

1.      MONTHLY PLAN PAYMENTS. Plan payments include the Trustee's fee of 10% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to the
Trustee for the period of 60 months. If the Trustee does not retain the full llYo, any portion not
retained will be disbursed to allowed claims receiving payment under the plan and may cause an
increased distribution to the unsecured class of creditors:

(A)         $150     for months I through 60 to pay the following creditors:

2.          ADMINISTRATIVE ATTORNEY'S FEES.

Base Fee       $4,100.00 Total Paid Prepeti                              Balance Due $2,860.00

Estimated Additional Fees Subject                       rtA              s0
Attorney's Fees Payable through                     $r80.00 M            (subject to adjustment)




3.          PRIORITY CLAIMS (as defined in                ll   U.S.C.8 507).

Last 4 Digits                           Creditor                                          Total Claim
of Acct No.
NONE

I                         "Debtor" include and referto both of the debtors in a case filed jointly by two
    All   references to
individuals.
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4.      TRUSTEE FEES. Trustee shall receive           a fee from    each payment received, the
percentage of which is fixed periodically by the United States Trustee.

5.     SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under
the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection
payments.

        (A) Claims Secured by Real Property Which Debtor Intends to Retain/ Mortgage
Payments and Arrears, if any, Paid through the Plan. If the Plan provides for curing
prepetition arrearages on a mortgage, Debtor will pay, in addition to all other sums due under the
proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part of the
Plan. These mortgage payments, which may be adjusted up or down as provided for under the
Ioan documents, are due beginning the first due date after the case is filed and continuing each
month thereafter. The Trustee shall pay the postpetition mortgage payments on the following
mortgage claims:

Last 4 Digits   Creditor     Collateral         Reg. Mo.   Pmt.   Gap Pmt.          Arrears
of Acct No.                   Address
NONE

        (B) Claims Secured by Real Property/Debtor Intends to Seek Mortgage
Modification. Pending the resolution of a mortgage modification request, Debtor shall make the
following adequate protection payments to the Trustee: (l) for homestead property, the lesser of
3loh of gross disposable monthly income of Debtor and non-filing spouse, if any (after deducting
homeowners association fees), or the normal monthly contractual mortgage payment, or (2) for
non-homestead,income-producing property, 75oh of the gross rental income generated from the
property:

Last 4 Digits Creditor        Collateral                            Pmt. Amt.
of Acct. No.                  Address
NONE

        (C) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES. Under 11 U.S.C. S 1322(bX2), this provision does not apply to a claim
secured solely by Debtor's principal residence. A separate motion to determine secured status or
to value the collateral must be filed. The secured portion of the claim, estimated below, shall be
paid:

Last 4 Digits Creditor        Collateral      Claim Amt. Value      Pmt. Interest   @_oh
of Acct No.                   Desc./Address
NONE

        (D)     Claims Secured by Real Property and/or Personal Property to Which Section
506 Valuation DOES NOT APPLY. Claims of the following secured creditors shall be paid in
full with interest:

Last 4 Digits Creditor        Collateral      Claim   Amt. Pmt.     Interest   (@       o/
                                                                                        /o
of Acct No.                   Desc./Address
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NONE

      (E) Claims Secured by Personal Property - Maintaining Regular Payments and
Curing Arrearages, if any, with All Payments in Plan.

Last 4 Digits Creditor           Collateral         Regular Payment            Arrearages
of Acct No.                      Description
NONE

          (F) Secured Claims/Lease Claims Paid Direct by Debtor. The following             secured
claims/lease claims are being made via      automatic debit/draft from Debtor's depository account
and are to continue to be paid direct to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
Nothing herein is intended to terminate or abrogate Debtor's state law contract rights. (.lr{ote: The
Plan must provide for the assumption of lease claims that Debtor proposes to pay direct in the
Lease/Executory Contract Section 6 below.)

Last 4 Digits                  Creditor                       Property/Collateral
of Acct No.
277   1                BANK OF AMERICA                        5875 45 AVE. N

        (G) Liens to be Avoided per ll U.S.C.                 Off per ll              .s 506. A
separate motion to avoid a lien under $ 5     determine secury'd statuynd           stnp a lien
under $ 506 must be filed.

Last 4 Digits                          )r
                                                    &"--)7i71                  ,
                                                                                       Address
of Acct No.


          (H) Surrender of Collateral/Leased Property. Debtor will surrender the following
collateral/leased property. The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan. (Note:
The Plan must provide for the rejection of lease claims in the Lease/Executory Contract section
below.)

 Last 4 Digits                 Creditor                               Property/Collateral to be
 of Acct No.                                                          Surrendered
 NONE

 6.       LEASES/EXECUTORY CONTRACTS.

 Last 4 Digits    Creditor     Property                Assume/Reject-Surrender Est. Arrears
 of Acct No.
 NONE

 7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed
 claims shall receive apro rata share of the balance of any funds remaining after payments to the
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above referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $3,600.

8.     ADDITIONAL PROVISIONS:

       (A)    Secured creditors, whether or not dealt with under the Plan, shall retain the liens
              securing such claims:

       (B)    Payments made to any creditor shall be based upon the amount set forth in the
              creditor's proofof claim or other amount as allowed by an Order of the
              Bankruptcy Court.
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                           v

     (c)      Property ofthe estate (check one)*

              (t)              shall not vest in Debtor until the earlier of Debtor's discharge
                     dismissal of this case, unless the Court orders otherwise; or

              (2)     X          shall vest in Debtor upon confirmation of the Plan.

              *lf Debtor fails to check (1) or (2) above, or if Debtor checks both (1) and (2),
     property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or
     dismissal of this case, unless the Court orders otherwise.

     (D)      The amounts listed for claims in this Plan are based upon Debtor's best estimate
              and belief and/or the proofs of claim as flled and allowed. The Trustee shall only
              pay creditors with filed and allowed proof of claims. An allowed proof of claim
              will control, unless the Court orders otherwise.

     (E)      The Debtor may attach a summary or spreadsheet to provide an estimate of
              anticipated distributions. The actual distributions may vary. If the summary or
              spreadsheet conflicts with this Plan, the provisions of the Plan control prior to
              confirmation, after which time the Order Confirming Plan shall control.

     (F)      Debtor shall timely file all tax returns and make all tax payments and deposits
              when due. (However, if Debtor is not required to file tax returns, Debtor shall
              provide Trustee with a statement to that effect.) For each tax return that becomes
              due after the case is filed, Debtor shall provide a complete copy of the tax return,
              including business returns if Debtor owns a business, together with all related W-
              2s and Form 1099s, to the Trustee within 14 days of filing the return. Unless
              otherwise ordered by the Court, Debtor shall turn over to the Trustee all tax
              refunds in addition to regular Plan payments. Debtor shall not instruct the Internal
              Revenue Service or other taxing agency to apply a refund to the following year's
              tax liability. Debtor shall spend no tax refunds without prior court approval.

9.   NONCONFORMING PROVISIONS :


 A"W';d
/S/ RIGORBERTO{6N
                                     ifi
       Debtor                                              Dated:6- I 5-   l6


?,-#-(;,M"
     Debtor                                                Dated:6- I 5- l6
